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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KENNETH FITCH, et al.,

                                                      Civil Action No.: 18-CV-02817-PJM
       Plaintiffs,


      v.


STATE OF MARYLAND, et al.,
       Defendants.



                               NOTICE OF APPEARANCE

       WILL THE CLERK, please enter the appearance of Omar Vincent Melehy and the law

firm of Melehy & Associates LLC as counsel for the Movants/Intervenors in this matter.

Dated: June 28, 2019                       Respectfully submitted,



                                           /s/ Omar Vincent Melehy
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